      Case 1:25-mj-00068-MAU            Document 1-1        Filed 04/28/25     Page 1 of 34




                                   STATEMENT OF FACTS

   1. This following Statement of Facts is submitted in support of a Criminal Complaint charging

MARIO BUSTAMANTE LEIVA (DOB:                          , PDID           with violations of 18 U.S.C.

§ 1343 (Wire Fraud), 18 U.S.C. 1028A(a)(1) (Aggravated Identity Theft), and 22 D.C. Code §

2801 (Robbery). As described below, there is probable cause to believe that BUSTAMANTE

LEIVA committed three robberies between April 12, 2025, and April 20, 2025. Following each

robbery, BUSTAMANTE LEIVA made fraudulent purchases using the credit cards obtained from

the victim of each robbery.

   2. On April 26, 2025, BUSTAMANTE LEIVA was placed under arrest by members of the

Metropolitan Police Department (MPD) and the United States Secret Service (USSS). Your affiant

will describe the three robbery offenses in the order in which they were investigated by MPD and

USSS.


                        The April 17, 2025, Robbery (CCN 25-056018)


   3. On April 17, 2025, MPD officers with the First District responded to 999 9th ST NW,

Washington, D.C., for the report of a Theft. Victim-1 reported that while she was having dinner,

an unknown suspect, subsequently identified as BUSTAMANTE LEIVA, stole her purse while it

was hanging on the back of her chair. The bag contained Victim-1’s credit cards and other personal

identifying items. At the time of the report, Victim-1 advised law enforcement that an attempt to

use her American Express Card (Amex) ending in 3018 had been made at the Safeway located at

490 L Street NW, Washington, D.C. Victim-1 informed MPD Detective Steven Grysko that she

filed a report because her driver’s license had been stolen, but Victim-1 did not have an interest in

seeing an arrest made or further investigation conducted.



                                                 1
      Case 1:25-mj-00068-MAU           Document 1-1       Filed 04/28/25      Page 2 of 34




    4. On Tuesday April 22, 2022, Officer Anthony Pearlman reviewed footage from the Westin

Hotel, where Victim-1 was dining when her purse was stolen. Officer Pearlman also conducted a

follow-up interview with Victim-1.       Officer Pearlman determined that on April 17, two

unauthorized transactions were made using Victim-1’s Amex credit card ending in 3018 at the

Safeway located at 490 L St NW, Washington, D.C. The first transaction was made at 9:35 PM

in the amount of $12.12. The second transaction was made at 9:45 PM in the amount of $407.95.

Officer Pearlman reviewed checkout transaction records from the Safeway and determined that

the $12.12 charge was for a bottle of Josh Cabernet Sauvignon Wine, and the $407.95 charge was

for a $400 National Core Amex Gift Card ending in 3742 (VAN 6280), (the Amex gift card). Your

affiant is aware that the activation of and transactions on the Amex gift card are processed by

InComm Payments. All activations and transactions on InComm products are processed and

authorized from InComm’s servers in Atlanta, Georgia.

    5. Officer Pearlman obtained surveillance footage from the Westin Hotel for the evening of

April 17th. That surveillance video captured BUSTAMANTE LEIVA walk across the lobby into

the dining area at approximately 9:15 PM. In the video, BUSTAMANTE LEIVA appeared short

and was wearing a hat, a black coat with a logo on the left sleeve and a pronounced white collar

on the left side of the neck, black pants, and sneakers with what appeared to be a Nike logo on the

side. BUSTAMANTE LEIVA was wearing a black backpack and was holding more clothing in

his left arm.




                                                2
      Case 1:25-mj-00068-MAU         Document 1-1       Filed 04/28/25     Page 3 of 34




                Figure 1 - BUSTAMANTE LEIVA entering the Westin at 9:15 PM.


   6. BUSTAMANTE LEIVA walked behind Victim-1, who was eating dinner with her family.

In the video, Victim-1’s pursue is visible hanging on the back of her chair. BUSTAMANTE

LEIVA approached the kitchen area, where he stood for a few minutes while holding a coat in his

left arm.




                                              3
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 4 of 34
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 5 of 34
      Case 1:25-mj-00068-MAU          Document 1-1      Filed 04/28/25     Page 6 of 34




 Figure 4 – Left, Safeway front entrance camera view of BUSTAMANTE LEIVA entering
the store at 9:32 PM. Right, Safeway side entrance camera view of BUSTAMANTE LEIVA
                                     entering the store.

   10. Officer Pearlman reviewed surveillance footage that captured BUSTAMANTE LEIVA

using self-checkout lane #54 at 9:33 PM. BUSTAMANTE LEIVA purchased a bottle of what

appeared to be “Josh Cabernet” wine using Victim-1’s Amex credit card. This purchase matched

the transaction receipt provided to Officer Pearlman by Safeway. BUSTAMANTE LEIVA

initially appeared to have difficulty making this purchase, but ultimately the transaction was

approved. BUSTAMANTE LEIVA then went to a manned register and waited in line to purchase

an Amex gift card. At approximately 9:45 PM, BUSTAMANTE LEIVA successfully purchased

the Amex gift card ending in 3742 using Victim-1’s Amex credit card. He then left the Safeway

heading northbound at approximately 9:47 PM. As will be discussed further, until April 26, 2025,

the Amex gift card ending in 3742 was not activated or used.




                                               6
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 7 of 34
      Case 1:25-mj-00068-MAU            Document 1-1    Filed 04/28/25     Page 8 of 34




   11. MPD Personnel canvased for video in an effort to determine BUSTAMANTE LEIVA’S

travel both before and after he was observed on video at the Westin and the Safeway on April 17.

While doing so, law enforcement recovered additional surveillance video capturing

BUSTAMANTE LEIVA wearing a pair of camouflage-patterned shoes and learned of additional

incidents associated with this investigation.

   12. Law enforcement determined that prior to BUSTAMANTE LEIVA stealing Victim-1’s

purse at the Westin, BUSTAMANTE LEIVA appeared to have committed a similar theft at the

Dolcezza coffee shop located at 904 Palmer Way NW, Washington, D.C. Surveillance video

provided to MPD by the United States Mint Police captured BUSTAMANTE LEIVA near the

Dolcezza coffee shop from earlier in the evening of April 17. Officer Pearlman recovered

additional surveillance video from the Dolcezza coffee shop that captured BUSTAMANTE

LEIVA standing in line at approximately 8:47 PM. In that video, BUSTAMANTE LEIVA appears

to be wearing the same clothing he wore during the theft at the Westin and while he was making

fraudulent purchases at Safeway using Victim-1’s Amex credit card.




                                                8
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 9 of 34
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 10 of 34
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 11 of 34
     Case 1:25-mj-00068-MAU           Document 1-1        Filed 04/28/25     Page 12 of 34




Officer Pearlman and Detective David Gargac shared their investigation with the United Secret

Service in a joint effort to locate and apprehend BUSTAMANTE LEIVA.

   15. The BOLO for the suspect in the April 20th Capital Burger robbery depicted a short white

male, possibly Asian or Hispanic, wearing a black coat with white fur on the collar, grey pants, an

unknown brand hat, and unknown brand sneakers. The BOLO images of BUSTAMANTE LEIVA

in the checkout line at Safeway on April 17 appeared to show BUSTAMANTE LEIVA wearing

the same coat.

   16. As part of this investigation, law enforcement canvased homeless shelters and service

centers in close proximity to the Safeway located at located at 490 L Street NW. An employee at

a nearby community services center recognized the individual in the BOLO from surveillance

video of a theft that had occurred at a Nando’s several days earlier. Officer Pearlman contacted

Nando’s to obtain additional information about this incident.


                        The April 12, 2025, Robbery (CCN 25-053341)


   17. On Saturday, April 12, 2025, at approximately 8:30 PM. Victim-2 reported to MPD that

her purse had been taken from the back of her chair while she was dining at the Nando’s restaurant

located at 836 F Street NW, Washington, D.C. Law enforcement recovered surveillance video

from the Nando’s that captured BUSTAMANTE LEIVA stealthily removing Victim-2’s purse

from the back of her chair and exiting the Nando’s. During this offense, BUSTAMANTE LEIVA

appeared to be acting in concert with a second individual, Suspect-2. Victim-2 provided law

enforcement with transaction records from her credit/debit cards that were stolen with her purse.




As a result, law enforcement has been able to exclude him as having participated in the events
described above.
                                                12
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 13 of 34
     Case 1:25-mj-00068-MAU         Document 1-1      Filed 04/28/25     Page 14 of 34




  Figure 12 – BUSTAMANTE LEIVA and Suspect-2 enter the Nando’s at approximately
    7:31 PM. Suspect-2 appears to block the view of the back of Victim-2’s chair while
 BUSTAMANTE LEIVA grabs Victim-2’s purse with his left hand hides it under his coat.

   20. After leaving the Nando’s, BUSTAMANTE LEIVA and Suspect-2 traveled to the Safeway

at 490 L Street NW. Surveillance video captured BUSTAMANTE LEIVA and Suspect-2 entering

the Safeway at approximately 8:04 PM. Suspect-2 proceeded to purchase a $500 Visa gift card

ending in 9034 using Victim-2’s credit card, which BUSTAMANTE LEIVA had stolen

approximately a half-hour prior. Surveillance video captured BUSTAMANTE LEIVA departing

the Safeway at approximately 8:11 PM. Suspect-2 exited the Safeway a few minutes after

BUSTAMANTE LEIVA. Your affiant is aware that the activation of and transactions on the Visa

gift card are processed by InComm Payments. All activations and transactions on InComm

products are processed and authorized from InComm’s servers in Atlanta, Georgia.




                                             14
     Case 1:25-mj-00068-MAU          Document 1-1       Filed 04/28/25      Page 15 of 34




Figure 13 – Suspect-2 and BUSTAMANTE LEIVA entering the Safeway on April 12, 2025,
                              at approximately 8:04 PM.

   21. Officer Pearlman received transaction records for the Visa gift card, which revealed a

phone number used to check the balance of the gift card.         The records also documented

approximately $462 worth of charges between April 12, 2025, and April 16, 2025. These records

and the investigation were shared with the Secret Service, who were investigating the April 20

robbery at Capital Burger. During a review of these transaction records, law enforcement observed

an April 12th transaction for a hotel stay at the Motel 6 located at 6711 Georgia Avenue NW,

Washington, D.C., an April 14th transaction for a hotel stay at Quality Inn located at 7212

Richmond Highway, Alexandria, VA, and finally, an April 15th transaction at a 7-Eleven located

at 3100 Lockheed Boulevard, Alexandria, VA. Additionally, numerous charges were made at the

King Street metro station in Alexandria, VA.

   22. Officer Pearlman contacted Metro Transit Police Department (MTPD) investigators, who

flagged SmarTrip cards the suspects added money to using the fraudulently purchased gift card.

MTPD provided clear images of BUSTAMANTE LEIVA and Suspect-2, both without face masks,

on April 15 at the King Street metro station. These images are from surveillance video that

captured BUSTAMANTE LEIVA and Suspect-2 after they used the Visa gift card that was
                                               15
     Case 1:25-mj-00068-MAU           Document 1-1       Filed 04/28/25      Page 16 of 34




purchased using Victim-2’s stolen credit card.       In one of the images provided by MTPD,

BUSTAMANTE LEIVA is carrying a black jacket with a white collar that appears to identical to

the jacket he wore during the April 12th, April 17th, and April 20th offenses.




 Figure 14 – Suspect 2 (left) and BUSTAMANTE LEIVA (right) at the King Street metro
                                  station on April 15, 2025.

   23. MTPD also provided MPD personnel with BUSTAMANTE LEIVA’s last movements

related to the flagged SmarTrip card on April 21, 2025. The transactions showed BUSTAMANTE

LEIVA enter the Dupont Circle metro station at approximately 03:26 PM and exit at Silver Spring

metro station approximately 30 minutes later. In video from the Silver Spring station,

BUSTAMANTE LEIVA is wearing a Navy collared shirt and camouflage sneakers. The

camouflage sneakers appear to match the sneakers that BUSTAMANTE LEIVA was wearing

during the April 17th offense at the Westin.




                                                16
     Case 1:25-mj-00068-MAU          Document 1-1       Filed 04/28/25      Page 17 of 34




 Figure 15 - BUSTAMANTE LEIVA at the Silver Spring metro station on April 21, 2025.

   24. MPD Personnel and members of the United States Secret Service conducted follow up

canvases at the locations linked to the Visa gift card transactions. With respect to the Motel 6

transaction, law enforcement received information from the Motel 6 reservation and payment

system. Between April 12, 2025, and April 14, 2025, Suspect-2 used the $500 Visa gift card ending

in 9034 to pay for a room through a Booking.com reservation (Confirmation # 4063AKL383).

Suspect-2 provided his name for this reservation. No camera footage of the Motel 6 stay was

available. Officer Pearlman conducted a law enforcement database search which revealed a recent

pawn transaction conducted by Suspect-2 in Maryland. The pawn search and follow-up provided

a NYC Identification card and phone number for Suspect-2, the latter of which is different than

the phone number associated with the Booking.com reservation.




                                               17
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 18 of 34
     Case 1:25-mj-00068-MAU          Document 1-1       Filed 04/28/25      Page 19 of 34




       26.    Law enforcement obtained surveillance footage from the Quality Inn depicting

BUSTAMANTE LEIVA inside the lobby, and an individual consistent in appearance with

Suspect-2 walking with BUSTAMANTE LEIVA outside of the hotel. MPD and Secret Service

personnel also spoke with Quality Inn staff who interacted with BUSTAMANTE LEIVA during

his stay. Specifically, the Quality Inn staff recalled an incident during which BUSTAMANTE

LEIVA engaged in a verbal altercation with a shift manager over his refusal to return to his

assigned room (Room 231) after being asked to do so on account of being intoxicated. The staff

member that was interviewed did not recall the exact time BUSTAMANTE LEIVA checked out

but did recall that BUSTAMANTE LEIVA left behind a black Samsung A12 cellphone that was

recovered by Quality Inn staff. The Secret Service recovered the cellphone as evidence.

       27.    MPD personnel also retrieved surveillance video of the April 15th transaction at

the 7-Eleven located at 3100 Lockheed Boulevard, Alexandria, VA. This 7-Eleven, and the

Quality Inn where Suspect-2 and BUSTAMANTE LEIVA stayed, are located approximately 600

feet apart. Law enforcement determined that the Visa gift card, that had been purchased using

Victim-2’s stolen credit card, had been used at approximately 6:30 PM on April 15, 2025.

Surveillance video from the 7-Eleven captured Suspect-2 and BUSTAMANTE LEIVA enter the

store at approximately 6:30 PM. In that video, BUSTAMANTE LEIVA is wearing what appears

to be the same black coat with a white collar and the camouflage sneakers that he wore during the

April 17th robbery at the Westin.




                                               19
     Case 1:25-mj-00068-MAU           Document 1-1        Filed 04/28/25      Page 20 of 34




                        The April 20, 2025, Robbery (CCN 25-057560)

   28. In the evening hours of April 20, 2025, an individual under the protection of the United

States Secret Service (hereafter Victim-3) was dining at the Capital Burger restaurant, located at

1005 7th Street Northwest, Washington, D.C. While at the restaurant, Victim-3 noticed that her

purse – that she had placed at her feet – was now missing. Victim-3 alerted her Secret Service

detail, who in turn ultimately alerted the Secret Service’s Washington Field Office (“USSS-

WFO”). Victim-3 subsequently provided an itemized list of property stolen from her purse, which

included several of her personal credit cards and her United States Government Personal

Identification Verification card. Members of the Uniformed Division of the United States Secret

Service (“USSS-UD”) subsequently classified the offense as Robbery Stealth and prepared a

police report describing the general circumstances of the offense.

   29. USSS-WFO and USSS-UD personnel (collectively, the “United States Secret Service” or

“Secret Service”) subsequently reviewed and obtained video from the Capital Burger. In relevant

part, BUSTAMANTE LEIVA entered the business at approximately 7:52 PM and sat down at a

table within arm’s reach of Victim-3. BUSTAMANTE LEIVA sat down in the chair closest to

Victim-3 and pushed the chair back from his table and in the direction of Victim-3. In the context

of this investigation, investigators believe this action was deliberate and done in an effort to get

closer to Victim-3’s belongings. The suspect then looked downward (likely in the direction of

Victim-3’s purse) and then at a child milling around nearby. CCTV footage from Capital Burger

captured Victim-3’s purse at her feet and the base of her chair, and in the immediate possession of

Victim-3.




                                                20
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 21 of 34
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 22 of 34
     Case 1:25-mj-00068-MAU            Document 1-1       Filed 04/28/25    Page 23 of 34




jeans, a white Covid-style mask, and a dark colored hat with a square-shaped logo on the front of

it. A photo of BUSTAMANTE LEIVA was shared with law enforcement.




             Figure 20 – BUSTAMANTE LEIVA inside the Capital Burger restaurant.


   32. During the course of this investigation, U.S. Secret Service personnel conducted an

extensive canvass for video that would have captured BUSTAMANTE LEIVA’S travel both

before and after the robbery of Victim-3. This section contains information learned by US Secret

Service personnel as to the suspect’s travel before the offense.

   33. Law enforcement determined that BUSTAMANTE LEIVA arrived in the immediate area

of the offense location by a bus operated by the Washington Metropolitan Area Transit Authority

(“WMATA”). Specifically, it was determined that an individual consistent in description to that

of BUSTAMANTE LEIVA boarded WMATA bus number 7248 at 7th Street and Indiana Avenue

Northwest in the District at approximately 7:38 PM. Prior to boarding the bus, BUSTAMANTE

LEIVA was observed approximately one block north of the bus stop. Secret Service personnel

                                                23
     Case 1:25-mj-00068-MAU              Document 1-1     Filed 04/28/25     Page 24 of 34




obtained surveillance footage that depicts BUSTAMANTE LEIVA with clarity and without

obstruction. It was immediately apparent to investigators upon being provided this image that this

individual was BUSTAMANTE LEIVA – based on clothing and physical characteristics – who

stealthily robbed Victim-3 of her purse and belongings a short time later.




                   Figure 21 – BUSTAMANTE LEIVA near 7th and D Streets NW.


    34. BUSTAMANTE LEIVA took the 79-Bus towards Silver Spring from 7th Street and

Indiana Avenue NW, exiting a short time later at the bus stop located at 7th and L Streets NW.

Surveillance footage obtained from the Walter E. Washington Convention Center depicted the

individual exiting the bus at 7:44 PM.

    35. The video footage captured a medium-to-heavyset built male, wearing a dark colored jacket

with a thick white collar, jeans, a white Covid-style mask, and a dark colored hat with a square

logo on the front of it.




                                                24
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 25 of 34
Case 1:25-mj-00068-MAU   Document 1-1   Filed 04/28/25   Page 26 of 34
     Case 1:25-mj-00068-MAU          Document 1-1        Filed 04/28/25     Page 27 of 34




              Figure 25 – BUSTAMANTE LEIVA with Victim-3’s purse and wallet.


   39. Secret Service personnel determined through their review of surveillance footage that while

BUSTAMANTE LEIVA was patronizing the restaurant, he plugged in a cellphone to charge it.

After departing the restaurant, BUSTAMANTE LEIVA was observed by the same surveillance

system falling asleep at an outdoor table, where he remained until approximately 7:30 AM the

following morning. BUSTAMANTE LEIVA was last observed on surveillance video walking

eastbound on Pennsylvania Avenue NW near the Four Seasons Hotel in Georgetown at

approximately 07:35 AM on April 21.


                           Identification of BUSTAMANTE LEIVA

   40. On April 26, 2025, U.S. Secret Service investigators learned about report 250016968 from

the Montgomery County Police Department (MCPD) in Silver Spring, Maryland, in which


                                               27
     Case 1:25-mj-00068-MAU           Document 1-1       Filed 04/28/25     Page 28 of 34




BUSTAMANTE LEIVA identified himself to law enforcement and reported that he was the victim

of a theft. Specifically, on April 19, 2025, at 02:23 AM, MCPD officers responded to 8240 Fenton

Street, Silver Spring, MD for a theft. Once on scene, officers met with Mario

BUSTAMANTELEIVA who, through a Spanish interpreting officer, advised the following:

Around 02:00 AM, BUSTAMANTE LEIVA, who has no fixed address and is currently unhoused,

fell asleep on a bench in front of the above referenced address around 02:00 AM. When

BUSTAMANTE LEIVA woke up, his bag containing all of his belongings was gone.

BUSTAMANTE LEIVA advised that in the bag were several pieces of clothing including shoes,

his Chilean passport, and over $1,000 in cash. BUSTAMANTE LEIVA was somewhat

uncooperative and smelled heavily of an alcoholic beverage.


                                Total Fraudulent Expenditures

   41. Below is a summary of the fraudulent expenditures made by BUSTAMANTE LEIVA and

Suspect-2 using the victims’ stolen credit cards:

               a. On or about April 12, 2025, BUSTAMANTE-LEIVA and Suspect-2, used

                   Victim-2’s stolen credit card to purchase a VISA gift card in the amount of

                   $507.95. BUSTAMANTE-LEIVA and Suspect-2 used the VISA gift card to

                   pay for lodging at the Georgia Avenue Motel 6 on April 12 and the

                   Alexandria Quality Inn on April 14. On April 15, BUSTAMANTE-LEIVA

                   and Suspect-2 used the VISA gift card to make a purchase at a 7-Eleven in

                   Alexandria, VA.

               b. BUSTAMANTE-LEIVA used Victim-1’s stolen credit card to make

                   fraudulent purchases in the amount of $409 on April 17, 2025.




                                                28
     Case 1:25-mj-00068-MAU           Document 1-1        Filed 04/28/25     Page 29 of 34




               c. BUSTAMANTE-LEIVA used Victim-3’s stolen credit cards to make

                   fraudulent purchases in the amount of $205.87.


                     BUSTAMANTE LEIVA’S Arrest on April 26, 2025

   42. From the date of BUSTAMANTE LEIVA’S purchase of the Amex gift card using Victim-

1’s stolen credit card, Officer Pearlman periodically checked, through the gift card payment

provider, for activity on the card. The payment provider’s fraud investigators also monitored the

card for activity after hours and over the weekend. On April 26, 2025, a fraud investigator checked

the Amex gift card’s transactions and alerted Officer Pearlman and Detective Gargac that the

Amex gift card had been activated and was using a phone number ending in 5732. The fraud

investigator further advised that the gift card had been used to make a purchase at the Motel 6

located at 6711 Georgia Ave NW, Washington, D.C., on April 26, 2025, at approximately 10:24

AM. Officer Pearlman notified members of the United States Secret Service, who determined that

the phone number used to activate the gift card was a T-Mobile number. Using commercial

databases, law enforcement determined that the phone number is registered to “Mari Buscamante.”

   43. Additionally, law enforcement was aware that BUSTAMANTE LEIVA and Suspect-2 had

previously stayed at this location on April 12th and April 13th using the gift card purchased with

the funds from Victim-1’s stolen credit card. Investigators responded to the Motel 6 and queried

the reservation system for the last four digits of the Amex gift card number ending in 3742. The

second result on the list showed a reservation starting on April 21 and extending through April 27.

The name provided for this reservation was Mario Bustamente with a room number of 311. The

reservation revealed BUSTAMANTE LEIVA likely used a photocopy of a Chilean passport in the

name of “Mario Enrique Bustamante Leiva” as an identification document. Surveillance footage




                                                29
     Case 1:25-mj-00068-MAU        Document 1-1      Filed 04/28/25     Page 30 of 34




of the check in on April 21, 2025, was also reviewed, and investigators recognized

BUSTAMANTE LEIVA by face and clothing.

   44. Investigators knocked on the door of Room 311 and BUSTAMANTE LEIVA answered

the door. USSS and MPD personnel recognized BUSTAMANTE LEIVA as the suspect in the

BOLOs prepared by MPD and USSS in connection with the April 12th, 17th and 20th incidents.

MPD personnel then placed BUSTAMANTE LEIVA under arrest and escorted him to the lobby

of the hotel. USSS and MPD personnel secured the scene and continue to hold Room 311 secure

until investigators secured a search warrant. BUSTAMANTE LEIVA was transported to the

Hospital after complaining of alcohol withdrawal. Once cleared from the hospital,

BUSTAMANTE LEIVA was transported to US Secret Service headquarters where he was

interviewed by MPD and USSS personnel.


                           Interview of BUSTAMANTE LEIVA

   45. BUSTAMANTE LEIVA was interviewed by Officer Pearlman, Detective Gargac, and

USSS Special Agent May. BUSTAMANTE LEIVA is primarily Spanish-speaking, thus

Detective Benjamin was present to act as a translator. The interview was video and audio

recorded. What follows is a short summary of the interview. BUSTAMANTE LEIVA was

advised of his Miranda rights and subsequently waived them. BUSTAMANTE LEIVA was first

shown a body-worn camera (BWC) photograph of himself from the April 19, 2025, report he made

about being the victim of a theft. BUSTAMANTE LEIVA identified himself and advised that five

black males had robbed him while he slept on the bench. BUSTAMANTE LEIVA was wearing




                                            30
     Case 1:25-mj-00068-MAU            Document 1-1        Filed 04/28/25      Page 31 of 34




what appeared to be the same black coat with white fur in the BWC photograph he was shown that

he was observed wearing on surveillance video during the offenses under investigation.

   46. BUSTAMANTE LEIVA stated that he was an alcoholic and therefore that he has memory

issues. During the interview BUSTAMANTE LEIVA admitted to stealing Victim-3’s

purse/bag. He stated that the purse/bag was underneath Victim-3’s chair and that he used his feet

to slide it out from underneath the chair. BUSTAMANTE LEIVA then picked up the purse/bag

and fled. BUSTAMANTE LEIVA advised that he kept the purse and wallet that was inside of

it. The rest of the contents he threw in the trash. BUSTAMANTE LEIVA claimed that he still had

the purse and that it was in the Motel room. BUSTAMANTE LEIVA verified that he had the shoes

and coat that were worn during the offenses inside the hotel room. BUSTAMANTE LEIVA was

shown a photograph of Victim-3 and denied any prior knowledge of who they

were. BUSTAMANTE LEIVA had a good recollection of this offense but stated he could not

remember the other offenses he committed.

   47. BUSTAMANTE LEIVA was shown video stills from the April 12th and April 17th

offenses. He identified himself in the video stills. BUSTAMANTE LEIVA was also shown a news

story form a British publication detailing his arrest in 2014 for a series of thefts that occurred in

London, England. The story detailed that BUSTAMANTE LEIVA had been arrested in London

for stealing designer bags and purses. The article included a photograph of BUSTAMANTE

LEIVA. BUSTAMANTE LEIVA was shown this photograph and he verified that it was him.

   48. BUSTAMANTE LEIVA was also questioned about Suspect-2. BUSTAMANTE LEIVA

stated that he had recently met Suspsect-2 days prior in Washington, D.C. BUSTAMANTE

LEIVA disclosed that he and Susepct-2 had rented motel rooms together to save

money. BUSTAMANTE LEIVA was shown photographs of Suspect-2 and verified them as such.



                                                 31
      Case 1:25-mj-00068-MAU              Document 1-1    Filed 04/28/25     Page 32 of 34




BUSTAMANTE LEIVA repeatedly stated that the gift cards he used were provided by Suspect-

2. BUSTAMANTE LEIVA advised that the Amex gift card used on the morning of April 26, 2025,

that led to his arrest, was not his.


                                       Search Warrant Execution

    49. On April 27, 2025, at approximately 12:28 AM, members of the USSS along with Officer

Pearlman and Detective Gargac executed a D.C. Superior Court Search Warrant at 6711 Georgia

Ave NW, Room 311. Law enforcement recovered from Room 311 Victim-3’s purse and wallet,

an Amex gift card ending in 3742, a Black Jacket with a white fur collar, a pair of Nike camouflage

sneakers, a business card belonging to the manager of the Quality Inn in Alexandria, VA,

approximately $3,174.35 in United States currency and a five Euro note, and a WMATA SmarTrip

card. The jacket and Nike and sneakers that were recovered from Room 311 appeared to match

the jacket and sneakers worn by BUSTAMANTE LEIVA during the robberies on April 17th and

April 20th. The recovered SmarTrip card was confirmed to be the same SmarTrip card referenced

earlier in this affidavit and that was flagged by MTPD as belonging to BUSTAMANTE LEIVA.


                                           CONCLUSION

        50. Between April 12, 2025, and April 26, 2025, BUSTAMANTE LEIVA devised and

intended to devise a scheme to defraud Victim-1, Victim-2, and Victim-3, and to obtain money

and property by means of materially false and fraudulent pretenses, representations, and promises.

Specifically, BUSTAMANTE LEIVA stole credit cards belonging to Victim-1, Victim-2, and

Victim-3, and used those credit cards to make unauthorized purchases in Washington, D.C. These

purchases included an Amex gift card that BUSTAMANTE LEIVA purchased at a Safeway on

April 17 and a Visa gift card that BUSTAMANTE LEIVA and Suspect-2 purchased at a Safeway



                                                  32
     Case 1:25-mj-00068-MAU           Document 1-1        Filed 04/28/25     Page 33 of 34




on April 12. It is your affiant’s understanding that when BUSTAMANTE LEIVA purchased the

Amex and Visa gift cards at Safeway and loaded them with funds, that transactions were routed

through computer servers based in Atlanta, Georgia. Additionally, when BUSTAMANTE LEIVA

made purchases using Victim-3’s American Express cards, those transactions were routed through

American Express’s servers which are located in Phoenix, Arizona.                    Accordingly,

BUSTAMANTE LEIVA’S conduct caused the transmission of a signal by means of a wire in

interstate commerce in furtherance of his scheme to defraud Victim-1, Victim-2, and Victim-3.

Therefore, there is probable cause to believe that BUSTAMANTE LEIVA’S conduct violated the

wire fraud statute, 18 U.S.C. § 1343. Furthermore, because BUSTAMANTE LEIVA made

fraudulent purchases using stolen credit cards, there is probable cause to believe that he violated

18 U.S.C. § 1028A(a)(1).


       51. Finally, for the reasons discussed above, because BUSTAMANTE LEIVA stole purses

belonging to Victim-1, Victim-2, and Victim-3 by sudden or stealthy seizure, there is probable

cause to believe that BUSTAMANTE LEIVA violated 22 D.C. Code § 2801 on April 12, 2025,

April 17, 2025, and April 20, 2025.


                                                            Respectfully submitted



                                                            ______________________________
                                                            Special Agent Stephen May
                                                            United States Secret Service




                                                33
     Case 1:25-mj-00068-MAU        Document 1-1      Filed 04/28/25     Page 34 of 34




Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) by telephone on April 28,
2025.
                                                               2025.04.28
                                                               12:36:32 -04'00'
                                          ____________________________________
                                          HONORABLE MOXILA A. UPADHYAYA
                                          UNITED STATES MAGISTRATE JUDGE




                                            34
